                           Case 2:15-cr-00388-AM Document 14 Filed 04/15/15 Page 1 of 2
AO 98 (Rev. 12/11) Appearance Bond
                                                                                                                F   I   L F 1')
                                            UNITED STATES DISTRICT COURT
                                                    WESTERN DISTRICT OF TEXAS                                 APR 1 ö        O15
                                                        DEL RIO DIVISION                                      DCT CLERK
                                                                                                         CLERK, V
                                                                                                           STERW    OTRb OF TEXAS
United States of America                                              §
                                                                                                         BY___________
vs.                                                                   §     Case Number: DR:15-CR-00388(1)-AM

(I) Sean Bailey
      Defendant

                                                          APPEARANCE BOND

                                                          Defendant's Agreement
I (1) Sean Halley                                    (defendant), agree to follow every order of this court, or any court that
considers this case, and I further agree that this bond may be forfeited if I fail:
             X       to appear for court proceedings;
             X       if convicted, to surrender to serve a sentence that the court may impose; or;
             X       to comply with all conditions set forth in the Order Setting Conditions of Release.

                                                                Type of Bond

         (1)      This is a personal recognizance bond.

         (2)      This is an unsecured bond of $ 30,000

a (3)             This is a secured bond of$                                            secured by:

                  (a)                                                in case deposited with the court.

                  (b)     the agreement of the defendant and each surety to forfeit the following cash or other property
                  (describe the cash or other property, including claims on it - such as a lien, mortgage, or loan - and attach proof of
                  ownership and value).

                  $3

                  If this bond is secured by real property, documents to protect the secured interest may be filed of record.

                  (c)     a bail bond with a solvent surety (attach a copy of the bail bond, or describe it and ident5' the surety):




                                                   Forfeiture or Release of the Bond

Forfeiture ofthe Bond.    This appearance bond may be forfeited if the defendant does not comply with the above
agreement. The court may immediately order the amount of the bond surrendered to the United States, including the
security for the bond, if the defendant does not comply with the agreement. At the request of the United States, the court
may order a judgment of forfeiture against the defendant and each surety for the entire amount of the bond, including
interest and costs.
                           Case 2:15-cr-00388-AM Document 14 Filed 04/15/15 Page 2 of 2


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AO 98 (Rev. 12/11) Appearance Bond




Release of the Bond.. The court may order this appearance bond ended at any time. This bond will be satisfied and the
security will be released when either: (1) the defendant is found not guilty on all charges, or (2) the defendant reports to
serve a sentence.

                                                             Declarations

Ownership of the Properly. I, the defendant and each surety declare under penalty of perjury that:

                 (1)       all owners of the property securing this appearance bond are included on the bond;
                 (2)       the property is not subject to claims, except as described above; and
                 (3)       I will not sell the property, allow further claims to be made against it, or do anything to reduce its
                           value while this appearance bond is in effect.

Acceptance. I, the defendant and each surety have read this appearance bond and have either read all the conditions
of release set by the court or had them explained to me. I agree to this Appearance Bond.


I, the defendant         and each surety   declare under penalty of perjury that t         rmation is true. (See 28 U.S.C. 1746.)


 Date:       04/15/2015
                                                                                     Sean Hailey-Defendant 's signature


                              Vanessa Sanchez                                                                                 4/15/15
                   Surety/properly owner printed name                                                    signature and date




                   Surely/properly owner printed name                            Surety/property owner   signature and date




                   Surety/property owner printed name                            Surety/property owner   signature and date




                                                                     CLEJkKk     COURT

Date:       04/15/2015                                                      VUvQ& -butQô
                                                                                     Signature of Clerk or Deputy Clerk

Approved.

Date:       04/15/2015
